Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 1 of 11 Page|D 1

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IN THE UNI'I`ED STATES DISTRICT COURT SFEB "7 PH 3: 36
FOR THE MIDDLE DISTRICT OF FLORIDA 54 §§ 45

-,§’_if'.' x,L,"

 

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HANDS oN CHIRoPRAchc PL,
A/A/o sAMANTHA scHURR, . - _
CASE No.: LO'\@'(N ' iq Z'DKL 57 DM

P|aintiff,
v. sTA'rr-: cASE No. 2017-cA-11229
PRoGREsSIVE sELEcT
INsuRANcE coMPANY,

Defendant.

/
DEFENDANT’S NOTICE OF REMOVAL

Defendant, Progressive Select lnsurance Company (“Progressive” or “Defendant”),
pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § l332(d) and 28 U.S.C. §
1453, as well as 28 U.S.C. §§ 1441 and 1446, hereby removes to this Court the state court
action described below.

l. This action was originally filed on December 29, 2017 in the Circuit Court of
the Ninth Circuit in and for Orange County, Florida, styled Hands On Chiropractic CL (a/a/o
Debra A. Combs) v. Progressive Select Ins. Co., Case No. 2017-CA-11229 (the “State Court
Action”). Progressive was served with the Complaint on January 9, 2018.

2. Plaintiff, Hands On Chiropractic PL (“Hands On”) filed the original complaint
as the assignee of Progressive insured Debra A. Combs. (Original Compl.). The original
complaint contained two counts for relief: a count for breach of contract and a count for

declaratory relief.

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 2 of 11 Page|D 2

3. Hands On filed an Amended Class Action Complaint on February l, 2018. In
the Amended Complaint, Hands On asserts standing as the assignee of` Progressive insured
Samantha Schurr - instead of Debra A. Combs. Indeed, there is no mention of Debra A.
Combs in the Amended Complaint. In addition, the Amended Complaint contains a single
count for declaratory relief`.

4. The Amended Complaint is filed by Hands On on behalf of itself and an
unknown number of` persons and/or entities who submitted claims f`or payment of Florida
No-Fault (“PIP”) automobile insurance benefits from Progressive.l (Am. Compl. at 11 21).
Hands On alleges that Progressive has engaged in a systematic practice of underpaying bills
for PIP benefits that are submitted for amounts less than the amounts allowed pursuant to the
schedule of maximum charges contained in the PIP Statute, Fla. Stat. § 627.736(5)(a)l. (]d.).

5 . Based on this theory, Hands On alleges a single count for declaratory relief`.
Hands On requests the following declarations (Id. at Prayer for Relief):

a. Declaring that F|orida law and Progressive’s Policy require
Progressive to pay the full amount of the charges submitted or 80% of
the Schedule of Maximum Charges, where the charges submitted were
for less than the amounts allowed pursuant to Fla. Stat. §
627.736(5)(a)l.

b. Declaring that Progressive breached its Policies by paying only 80% of
the charges submitted where the charges submitted were for less than
the amounts allowed pursuant to Fla. Stat. § 627.736(5)(a)1.

c. Declaring that Progressive violated Florida law by paying only 80% of

the charges submitted where the charges submitted were f`or less than
the amounts allowed pursuant to Fla. Stat. § 627.736(5)(a)l.

 

' PIP benefits are governed by Fla. Stat. § 627.736.

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 3 of 11 Page|D 3

Hands On also requests the payment of attomeys’ fees and costs. (Id.).

6. Pursuant to 28 U.S.C. § l446(a), Progressive has attached: (a) a copy of` the
Complaint served upon it as Exhibit 1; and a copy of all other process and pleadings served
on Progressive in the State Court Action as Composite Exhibit 2. A true and correct copy of
this Notice of Removal will be filed with the Clerk of the Circuit Court of the Ninth Judicial
Circuit in and for Orange County, Florida, in accordance with the provisions of 28 U.S.C. §
l446(d), along with a Notice of the filing, a copy of which will be served upon all parties.

7. Progressive was served with the Complaint on January 9, 2018. (See Notice
of Service of Process, part of Composite Exhibit 2). Thus, this Notice of Removal is timely
filed in accordance with 28 U.S.C. § l446.

8. Hands On’s counsel has previously agreed that Progressive shall have an
extension of time through March 9, 2018, to respond to the Amended Complaint.

This Court Has Jurisdiction Over This Action Under CAFA

9. This action is removable to this Court, and this Court has jurisdiction over this
action, under CAFA, 28 U.S.C. § 1332, 28 U.S.C. § l44l(a) and (b), and 28 U.S.C. § 1453,
because this is a putative class action with more than 100 putative class members that are
seeking to recover in excess of $5,000,000 in the aggregate, and there is minimal diversity.

10. Hands On filed this putative class action on its own behalf and on behalf of a

class defined as follows (Am. Compl. at 1| 21):2

 

2 The proposed class suffers from several deficiencies By removing this action based

on the putative class definition, Progressive does not waive its right to challenge the class
definition or the other allegations of the Complaint.

43820926;]

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 4 of 11 Page|D 4

Any and all Progressive insureds, and health care providers as assignees of
Progressive insureds, who submitted charges for less than the amount
allowed under Fla. Stat. § 627.736(5)(a)l and received payment of 80% of
the charge rather than the full amount of the charges submitted or 80% of
the Schedule of Maximum Charges.

ll. The Complaint seeks to certify a class pursuant to Rule 1.220 of the Florida
Rules of Civil Procedure, which is the Florida equivalent to Rule 23 of the Federal Rules of
Civil Procedure. (Id. at ‘[l 20).

12. CAFA reflects Congress’s intent to have federal courts adjudicate substantial
class action suits brought against out-of-state defendants. Toward that end, CAFA expressly
provides that class actions filed in state court are removable to federal court. CAFA expands
federal jurisdiction over class actions by amending 28 U.S.C. § 1332 to grant original
jurisdiction where the putative class contains at least 100 class members; and any member of
the putative class is a citizen of a State different fi‘om that of any defendant; and the amount
in controversy exceeds $5,000,000 in the aggregate for the entire class, exclusive of interest
and costa 28 U.s.c. § 1332(d).

13. This suit satisfies all the requirements under CAFA for federal jurisdiction:
(l) the putative class exceeds 100; (2) the members of the proposed class have a different
citizenship fi'om Progressive; (3) the amount in controversy exceeds $5,000,000; and (4) the
exceptions to CAFA do not apply here. See 28 U.S.C. § l332(d); see also Exhibit 3,
Declaration of Marcie J. Buno.

A. The Putative Class Exceeds 100

14. CAFA requires that the class consist of at least 100 persons. 28 U.S.C.

§ 1332(d)(5). That requirement is clearly met here. While Hands On does not identify the

43820926;1

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 5 of 11 Page|D 5

number of putative class members in its Complaint, a review of Progressive’s records
indicates that there are more than 1,000 persons and/or entities implicated by the putative
class as defined by the Hands On. (Buno Declaration, Ex. 3 at 1| 8). Accordingly, it is clear
that there will be in excess of 100 class members implicated in the class asserted by the
Hands On in this action.

B. There Is Minimal Diversi§y Sufficient to Establish CAFA Jurisdiction

15. T he second CAFA requirement is at least minimal diversity-at least one
putative class member must be a citizen of a different state than any one defendant. 28
U.S.C. § 1332(d)(2).

16. On information and belief and as set forth in the Complaint, Plaintiff Hands
On is now, and was at the time of the filing of the Complaint, and at all times intervening, a
citizen of Florida. (Am. Compl. at 1] 2). As set forth in the Complaint, Hands On “is a
Florida corporation authorized to do business and doing business in Orange County, Florida.”
(Id.).

l7. Defendant Progressive is now, and was at the time of the filing of the
Complaint, and at all times intervening, an Ohio corporation and its principal place of
business is in Ohio. Progressive is therefore considered to be a citizen of Ohio. See 28
U.S.C. § 1332(c)(l).

l8. The proposed class is comprised of “Progressive insureds, and health care
providers as assignees of Progressive insureds” who submitted charges for less than the
amount “allowed under Fla. Stat. § 627.736(5)(a)l.” (Am. Comp|. at 11 21). As alleged in the

Amended Complaint, PIP benefits pursuant to Fla. Stat. § 627.736 arise from Florida

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 6 of 11 Page|D 6

automobile insurance policies. (Id. at 1111 7, 16-19). For purposes of this Notice, Progressive
must assume that the class is limited to those persons seeking a declaration under Progressive
policies issued in the State of Florida. See Julian v. Johnson, 438 So. 2d 503, 505 (Fla. 5th
DCA 1983) (Florida PIP coverage not afforded under policy issued in another state).

19. Thus, there is diversity here, as Hands On is a citizen of Florida and
Progressive is a citizen of Ohio. Thus, this prerequisite of CAFA is met. 28 U.S.C. §
1332(d)(2).

C. The CAFA Amount in Controversy Reguirement of $5,000,000 Is Met

20. CAFA also requires that the aggregate amount in controversy exceed
$5,000,000 for the entire putative class in the aggregate, exclusive of interest and costs. 28
U.S.C. § 1332(d)(2).

21 . As the United States Supreme Court has held, Progressive’s notice of removal
“need include only a plausible allegation that the amount in controversy exceeds the
jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547,
554 (2014). “Evidence establishing the amount is required by §l446(c)(2)(B) only when the

plaintiff contests, or the court questions, the defendant’s allegation.” Id. 3

 

3 If jurisdiction is challenged, Progressive would bear the burden of establishing that

the CAFA amount in controversy requirement is met by a preponderance of the evidence,
meaning it must show it is “more likely than not” that the amount in controversy exceeds the
jurisdictional requirement Pretka v. Kolter City Plaza lI, Inc., 608 F.3d 744, 752 (l lth Cir.
2010); see also South Florida Wellness, lnc. v. Allstate Ins. Co., 745 F.3d 1312, 1315 (1 lth
Cir. 2014). To meet that burden, a removing party can provide “specific factual allegations
establishing jurisdiction and can support them (if challenged by the plaintiff or the court)
with evidence combined with reasonable deductions, reasonable inferences, or other
reasonable extrapolations . . . . [A] removing defendant is not required to prove the amount
in controversy beyond all doubt or to banish all uncertainty about it.” Pretka, 608 F.3d at

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 7 of 11 Page|D 7

22. l-lere, based upon Hands On’s allegations and theories (which Progressive
disputes, but which control for removal purposes), Progressive plausibly alleges that the
$5,000,000 CAFA amount in controversy requirement is satisfied.

23. Plaintiff seeks a declaration that Progressive breached its Policies and violated
Florida law by “paying only 80% of the charges submitted where the charges submitted were
for less than the amounts pursuant to Fla. Stat. § 627.736(5)(a)l.” (Am. Compl. at Prayer for
Relief). Plaintiff seeks a declaration that Progressive is required to “pay the full amount of`
the charges submitted or 80% of the Schedule of maximum charges, where the charges
submitted are for less than the amounts allowed pursuant to Fla. Stat. § 627.736(5)(a)l .” Id.

24. Based upon a careful review of Progressive’s records, Progressive has
demonstrated that the total amount of PIP benefits implicated by that requested declaration
exceeds the five million dollar ($5,000,000) threshold and even exceeds ten million dollars
(310,000,000). (Buno Declaration, Ex. 3 at 1[ 7).

25. The single count of Hands On’s Amended Complaint seeks declaratory relief`.
“When a plaintiff seeks injunctive or declaratory relief, the amount in controversy is the
monetary value of the object of the litigation from the plaintiffs perspective.” Cohen v.

Ojice Depot, Inc., 204 F.3d 1069, 1077 (l lth Cir. 2000) (citation omitted); see also Hartford

 

754. In meeting this burden, the removing party may present “affidavits, declarations, or
other documentation.” Id. at 755 (citations omitted); see also Sierminski v. T ransoth Fin.
Corp., 216 F.3d 945, 949 (1 lth Cir. 2000) (the district court may “require parties to submit
summary-judgment-type evidence relevant to the amount in controversy at the time of
removal”) (citations omitted); Fowler v. Safeco Ins. Co. of Am., 915 F.2d 616, 617 (l lth Cir.
1990) (“Defendants have the opportunity to submit affidavits, depositions, or other evidence
to support removal.”).

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 8 of 11 Page|D 8

Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 910 (5th Cir. 2002) (amount-in-controversy in an
action for declaratory relief is “the value of the right to be protected or the extent of the
injury to be prevented”). ln the insurance context, the “value of the right to be protected is
the [insurer’s] potential liability under the policy, plus potential attomeys’ fees, penalties,
statutory damages and punitive damages.” Prime Ins. Syndicate, lnc. v. Soil Tech
Distributors, Inc., 2006 WL 1823562, at *3 (M.D. Fla. June 30, 2006) (quotations omitted).

26. Further, the value of the declaratory relief sought by Hands On necessarily
includes the value of any recovery that could be sought by the class because a declaration by
this Court will establish how payments should have been calculated since December of
2012.4 See, e.g., South Florida Wellness, 745 F.3d at 1318.

27. Hands On has also requested an award of attomeys’ fees. The Florida
lnsurance Code does provide for an award of attomeys’ fees against insurance companies
under certain circumstances See Fla. Stat. § 627.428. Although Progressive disputes Hands
On or the class are entitled to any such award, and disputes that the statute applies to Hands
On’s or the class’s claims as a matter of fact or law, for purposes of removal, Hands On’s
assertion of a statutory right to attomeys’ fees is properly considered in ascertaining the
amount in controversy. See, e.g., Shejf]ield Woods at Wellington Condo. Ass'n v. Scottsdale
Ins. Co., 2009 WL 2255219, at *1 (M.D. Fla. July 28, 2009) (denying motion to remand,
finding amount in controversy met based in part on potential for attomeys’ fees under Fla.

Stat. § 627.428). Here, given that the compensatory damages standing alone easily satisfy

 

4 The statute of limitations period applicable to Plaintiff’s contract-based claim is five
(5) years. Fla. Stat. § 95.11(2) (2017).

43820926; l

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 9 of 11 Page|D 9

the CAFA amount in controversy requirement, the possibility of attomeys’ fees simply
swells the amount in controversy and further demonstrates that the CAFA amount in
controversy requirement is clearly met here.

28, For all the foregoing reasons, it is evident that the $5,000,000 CAFA amount
in controversy requirement is satisfied.

D. The Excegtions to CAFA Do Not Aggly Here

29. CAFA provides two mandatory exceptions to the application of federal
jurisdiction (both of which the Eleventh Circuit has labeled the “local controversy
exception”), and one discretionary exception. 28 U.S.C. § l332(d)(3)-(4); see also Evans v.
Walter Indus., Inc., 449 F.3d 1159, 1163 (l lth Cir. 2006) (discussing the “local controversy
exception”); Gavron v. Weather Shield Mfg., 2010 WL 3835115, at *2-3 (S.D. Fla. Sept. 29,
2010). The burden of establishing the exceptions to CAFA rests not on Progressive, but
rather on Hands On as the non-removing party. Evans, 449 F.3d at 1164 (“[W]hen a party
seeks to avail itself of an express statutory exception to federal jurisdiction granted under
CAFA, as in this case, we hold that the party seeking remand bears the burden of proof with
regard to that exception.”). In this case it is clear that none of these exceptions apply, and
Plaintiff could not possibly meet its burden of establishing any exception.

E. This Action is Properly Removed

30. Accordingly, because the CAFA prerequisites are met and none of the
exceptions applies, this case is properly removable under CAFA.

3l. The undersigned states that this removal is well-grounded in fact, warranted

by existing law, and not interposed for any improper purpose.

43820926;1

Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 10 of 11 Page|D 10

WHEREFORE, Progressive prays that this Court will consider this Notice of
Removal as provided by law governing the removal of cases to this Court; that this Court will
make the proper orders to achieve the removal of the State Court Action to this Court; and
that this Court will make such other orders as may be appropriate to effect the preparation
and filing of a true record in this cause of all proceedings that may have been had in the State
Court Action.

Respectfully submitted,

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Case 6:18-cv-00192-RBD-DC| Document 1 Filed 02/07/18 Page 11 of 11 Page|D 11

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the
Clerk of Court and served via e-mail on this 7"‘ day of February, 2018, to the persons on the

below Service List.

/s/ Allison Paige Gallagherl
Allison Paige Gallagher, Esq.

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